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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §           CRIMINAL NO . H-11-061
                                                  §
DERRICK LASHON PALEY                              §


                           ORDER OF DETENTION PENDING TRIAL

         In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the Government moved for
detention in this case. Defendant waived his right to a detention hearing. That waiver is entered in
the record as Dkt. No.165. I conclude that the following facts are established by a preponderance
of the evidence or clear and convincing evidence and require the detention of the defendant pending
trial in this case.

                                          Findings of Fact

[ ]    A.        Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

       [ ] (1)       The defendant has been convicted of a (federal offense) (state or local offense
                     that would have been a federal offense if a circumstance giving rise to federal
                     jurisdiction had existed) that is

                     [ ]     a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                     [ ]     an offense for which the maximum sentence is life imprisonment or
                             death.

                     [ ]     an offense for which a maximum term of imprisonment of ten years or
                             more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                             ( ) § 955(a).

                     [ ]     a felony that was committed after the defendant had been convicted of
                             two or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                             (A)-(C), or comparable state or local offenses.

       [ ] (2)       The offense described in finding 1 was committed while the defendant was on
                     release pending trial for a federal, state or local offense.

       [ ] (3)       A period of not more than five years has elapsed since the (date of conviction)
                     (release of the defendant from imprisonment) for the offense described in
                     finding 1.
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       [ ] (4)       Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition
                     or combination of conditions will reasonably assure the safety of any other
                     person and the community. I further find that the defendant has not rebutted this
                     presumption.

[X]    B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [X] (1)       There is probable cause to believe that the defendant has committed an offense

                     []      for which a maximum term of imprisonment of ten years or more is
                             prescribed in 21 U.S.C.
                             () § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                     [X]     under 18 U.S.C. § 924(c).

       [X] (2)       The defendant has not rebutted the presumption established by finding 1 that no
                     condition or combination of conditions will reasonably assure the appearance
                     of the defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [X] (1)       Defendant is accused of bank robbery and possessing a firearm during and in
                     relation to a crime of violence in violation of 18 U.S.C. § 2113 and § 924.

       [X] (2)       There is a serious risk that the defendant will flee.

       [X] (3)       Defendant represents a danger to the community.

       [ ] (4)       There is a serious risk that the defendant will (obstruct or attempt to obstruct
                     justice) (threaten, injure, or intimidate a prospective witness or juror, or attempt
                     to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1)       As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [X] (3)       I find that there is no condition or combination of conditions set forth in 18
                     U.S.C. § 3142(c) which will reasonably assure the appearance of the defendant
                     as required.

       [X] (4)       I find that there is no condition or combination of conditions set forth in

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                    18 U.S.C. § 3142(c) which will reasonably assure the safety of any other person
                    or the community.

                            Written Statement of Reasons for Detention

       I find that the accusations in the indictment and the information submitted in the Pretrial
Services Agency report establish by a preponderance of the evidence that no condition or
combination of conditions will reasonably assure the appearance of the defendant as required and
by clear and convincing evidence that no conditions will assure the safety of the community.

       I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

       1.      Defendant is a 40-year old U.S. citizen. He lives with his mother in Houston and
               maintains contact with his father and 5 siblings, all of whom live in the Houston area.
               He is separated from his wife and pays child support for their son.

       2.      Defendant is charged with bank robbery and possessing a firearm during and in
               relation to a crime of violence in violation of 18 U.S.C. §§ 2113 and 924.

       3.      Defendant has a long criminal history including felony convictions for burglary and
               possssion of a controlled substance, and convictions for theft, evading arrest, failure
               to identify a fugitive, criminal trespass, and driving with a suspended license. He has
               been charged with the felony of tampering with or fabricating evidence. He has
               previously had probation revoked.

       4.      Defendant has a history of substance abuse.

       5.      Defendant has not rebutted the statutory presumption that he is both a flight risk and
               a danger to the community.

       6.      There is no condition or combination of conditions of release which would assure the
               appearance of the defendant in court or the safety of the community. Detention is
               ordered.

                                  Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver the defendant to the United
States Marshal for the purpose of an appearance in connection with all court proceedings.

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 Signed at Houston, Texas, on July 15, 2011.




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